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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

Team Systems International, LLC,                        Case No. 22-10066-CTG

                        Debtor(s).



    GPDEV, LLC AND SIMONS EXPLORATION, INC.’S RESPONSE IN
  OPPOSITION TO DEBTOR’S MOTION FOR ENTRY OF INTERIM AND
   FINAL ORDERS (I) AUTHORIZING DEBTOR TO (A) CONTINUE ITS
    EXISTING CASH MANAGEMENT SYSTEM, (B) HONOR CERTAIN
 PREPETITION OBLIGATIONS RELATED THERETO, (C) MAINTAIN ITS
BANK ACCOUNT AND EXISTING BUSINESS FORMS, AND (D) IMPLEMENT
    CHANGES TO THE EXISTING CASH MANAGEMENT SYSTEM AS
NECESSARY; (II) SCHEDULING A FINAL HEARING; AND (III) GRANTING
         RELATED RELIEF, FILED JANUARY 18, 2022 [D.E. 4]

         GPDEV, LLC (“GPDEV”), and SIMONS EXPLORATION, INC. (“Simons”),

respond in opposition to the Debtor’s Motion for Entry of Interim and Final Orders (I)

Authorizing Debtor to (A) Continue its Existing Cash Management System, (B) Honor

Certain Prepetition Obligations Related Thereto, (C) Maintain its Bank Account and

Existing Business Forms, and (D) Implement Changes to the Existing Cash Management

System as Necessary (D.I. 4), and respectfully state as follows:

                             PRELIMINARY STATEMENT

         This case is the quintessential bad faith filing that should be dismissed swiftly and

with prejudice. GPDEV and Simons are holders of final judgments against the Debtor in

excess of $6,246,075 plus continually accruing post-judgment interest. By the Debtor’s

own admission, this case is a two-party dispute between the Debtor and GPDEV/Simons,

and the Debtor has no ongoing operations or employees. This case was filed solely to



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frustrate the ongoing collection efforts of GPDEV and Simons and to avoid imminent

civil contempt sanctions which were set to be imposed on January 24, 2022 by Judge

Robert Hinkle in the United States District Court for the Northern District of Florida.

The Debtor should not be permitted to operate or access the cash it has on hand, much

less utilize its undefined “Cash Management System” and bank accounts. The entirety of

the relief sought by the Debtor should be denied.

                                      BACKGROUND

         1.        In August of 2017, GPDEV and Simons entered a contract with Team

Systems International LLC (“TSI”) wherein GPDEV and Simons procured water for TSI

to sell to the U.S. Department of Homeland Security, Federal Emergency Management

Agency, and other agencies.

         2.        Pursuant to the agreement GPDEV and Simons were to receive twenty

five percent (25%) of the net amounts of income TSI received from amounts invoiced to

and paid to by the agencies and or customers.

         3.        Shortly after the agreement was signed, Hurricane Maria hit Puerto Rico

in September, 2017. As a result of Hurricane Maria, FEMA ordered 12 million liters of

bottled water from TSI.

         4.        TSI supplied the 12 million liters of bottled water to FEMA, (utilizing

Nestle and Niagara water procured by GPDEV and Simons) but TSI did not pay GPDEV

or Simons in accordance with the contract.

         5.        After TSI failed to pay the contracted amounts owed upon demand,

GPDEV and Simons filed suit on September 9, 2018, in the United States District Court

for the Northern District of Florida styled GPDEV, LLC and Simons Exploration, Inc. v.



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Team Systems International, LLC (Case No. 18-cv-00442-RH-MAF) (the “TSI

Lawsuit”).

         6.        The TSI Lawsuit was tried to a jury and the Court and resulted in a verdict

in favor of GPDEV and Simons. In sum, the Jury determined that TSI had received net

profits from the sales of bottled water in excess of $25,000,000, and had severely

underpaid GPDEV and Simons.

         7.        GPDEV was awarded a Final Judgment against TSI on September 28,

2021 in the total amount of $3,297,995.32 together with post-judgment interest after

August 25, 2021 as provided by law.

         8.        Simons was awarded a Final Judgment against TSI on September 28, 2021,

in the total amount of $2,948,080.46 together with post-judgment interest as provided by

law.

         9.        TSI did not pay or post security pending appeal, and the District Court

denied TSI’s Motions to stay discovery in aid of execution on November 8, 2021 1. TSI

also sought a stay pending appeal from the Eleventh Circuit Court of Appeals (Case No.

21-13662-AA) which was denied on January 10, 2022.

         10.       TSI has been egregiously uncooperative with GPDEV and Simons efforts

to obtain post-judgment discovery in aid of execution 2.




1
   The District Court Order denying stay explains that the risk of loss to GPDEV and
Simons would be substantial if a stay were to be imposed. A True and Correct Copy of
the District Court Order denying TSI’s Motion for a Stay Pending Appeal, is attached
hereto as Exhibit A.
2
  TSI claimed its officers had COVID-19 in an effort to avoid deadlines. A True and
Correct Copy of the TSI’s Motion for Extension of Time to Comply with Court Orders is
attached hereto as Exhibit B.

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         11.       On December 1, 2021, and December 20, 2021, TSI was compelled to

provide post-judgment discovery in aid of execution to GPDEV and Simons on or before

January 14, 2021.

         12.       TSI failed to comply with the Federal Court’s Orders, resulting in the

Court’s issuance of a Order to Show Cause by the Federal Court, as to why TSI and its

principal, Deborah Mott, should not be held in civil contempt for failure to provide the

required information by the January 14 deadline. A True and Correct Copy of the Show

Cause Order is attached hereto as Exhibit C.

         13.       The Show Cause Order required Ms. Mott to appear by telephone for the

show cause hearing on January 24, 2022 at 9:00 A.M., and to supply the Court and

address were, “if held in civil contempt at a later hearing, the ‘principal’ and Ms. Mott

will be available to be taken into custody by the United States Marshalls Service and held

until the required information is provided.” Id.

         14.       TSI commenced this case in bad faith, to frustrate GPDEV and Simons

post-judgment discovery and collections efforts 3.

                                        ARGUMENT

         By its own admissions in the Declaration of Deborah Evans Mott in Support of

Debtor’s Chapter 11 Petition and First Day Motion (D.I. 3), TSI is a company that

historically operated as a government contractor, but no longer able to bid on any

additional government contracts due to the Final Judgments against it held by GPDEV



3
  GPDEV and Simons discovery requests in aid of execution have been pending since
October 28, 2021 are attached hereto as Exhibit D. TSI is attempting to evade providing
true and complete responses to such requests and is forum shopping in an effort to avoid
a Court where the Judge is familiar with TSI’s troubling record of noncompliance with
court rules, orders and discovery obligations.

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and Simons. Mott Declaration at ¶ 15. TSI has no employees. Mott Declaration ¶ 19.

TSI’s sole asset appears to consist of $164,000 in a bank account at Artisans’ Bank 4, and

alleged “accounts receivable” which GPDEV and Simons believe are dubious, at best.

Mott Declaration, ¶ 20. TSI has no other creditors than GPDEV and Simons. Mott

Declaration Id.

         In other words, TSI is at present a non-operational entity whose only business is

defense of collections activities by GPDEV and Simons to thwart their efforts to obtain

satisfaction of the Final Judgment. By its own admission TSI has not responded to any of

GPDEV or Simons’ post-judgment discovery requests despite numerous Orders

compelling TSI and Deborah Mott’s compliance.

         Under the unique circumstances of this case, TSI should not be permitted to

operate or utilize any of the cash on hand. TSI has no employees or legitimate business

expenses and has demonstrated no need for use of the funds, maintenance of its

undefined “Cash Management System.”

         GPDEV and Simons are in the process of preparing a Motion to Dismiss this case

for egregious bad faith, which will be filed as soon as practicable.

         WHEREFORE, GPDEV and Simons respectfully request that the Court deny all

of the relief requested by TSI in its Motion for Entry of Interim and Final Orders (I)


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 GPDEV and Simons believe TSI swept its operating bank account of funds in order to
evade a writ of execution. FEMA paid TSI $37,579,577.37 for the supply of Nestle and
Niagara water to Puerto Rico. A True and Correct Copy of the Trial Exhibit 20 A-1, is
attached here to as Exhibit E. The jury’s verdict implicitly found that TSI made
$25,011,787 in profit for the sale and delivery of bottled water for Hurricane Maria relief.
But when the TSI operating account that collected the $37,579,577.37 was garnished, the
remaining funds in the account were $0.00. A True and Correct Copy of the Response of
Garnishee PNC Bank, N.A., to Writ of Garnishment is attached hereto as Exhibit F. TSI
claims that its assets include a $164,000.00 account at Artisans’ Bank, but this account
was not its operating account with government agencies.

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Authorizing Debtor to (A) Continue its Existing Cash Management System, (B) Honor

Certain Prepetition Obligations Related Thereto, (C) Maintain its Bank Account and

Existing Business Forms, and (D) Implement Changes to the Existing Cash Management

System as Necessary (D.I. 4), and grant any and all such other and further relief as is just

and equitable.



Dated: January 21, 2022               KASEN & KASEN, P.C.

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